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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                      )
AMERICAN OVERSIGHT,                   )
                                      )
                           Plaintiff, )
                                      )
v.                                    )                 Case No. 1:18-cv-02842-CKK
                                      )
U.S. DEPARTMENT OF HOMELAND           )
SECURITY, ET AL,                      )
                                      )
                         Defendants. )



                        NOTICE OF FILING PROOF OF SERVICE

       Plaintiff American Oversight, through undersigned counsel, respectfully submits the

attached Declaration of Service as proof that service of process has been effected on the U.S.

Department of Homeland Security, U.S. Customs and Border Protection, U.S. Immigration and

Customs Enforcement, U.S. Citizenship and Immigration Services, the United States Attorney’s

Office, and the Attorney General of the United States in the above-captioned matter.


Dated: March 4, 2019                                 Respectfully submitted,

                                                     /s/ Joseph F. Yenouskas
                                                     Joseph F. Yenouskas (D.C. Bar No. 414539)
                                                     GOODWIN PROCTER LLP
                                                     901 New York Avenue, NW
                                                     Washington, DC 20001
                                                     (202) 346-4143
                                                     JYenouskas@goodwinlaw.com

                                                     Counsel for Plaintiff
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                      )
AMERICAN OVERSIGHT,                   )
                                      )
                           Plaintiff, )
                                      )
v.                                    )                 Case No. 1:18-cv-02842-CKK
                                      )
U.S. DEPARTMENT OF HOMELAND           )
SECURITY, ET AL,                      )
                                      )
                         Defendants. )



                               DECLARATION OF SERVICE

       I, EMILY DERRICK, hereby declare as follows:

       1.       I am employed as a Court Procedures & Docketing Clerk at Goodwin Procter

LLP, counsel for American Oversight.

       2.       On December 4, 2018, American Oversight initiated the above-captioned matter

in the U.S. District Court for the District of Columbia. On December 10, 2018, the court issued

signed summonses for service. On December 12, 2018, I served the summonses and copies of

the complaint by Certified U.S. Mail, First-Class return-receipt requested on the Department of

Homeland Security, Customs and Border Protection, Immigration and Customs Enforcement,

Citizenship and Immigration Services, and the Attorney General of the United States and by

hand delivery on the United States Attorney’s Office.

       3.       According to USPS Tracking, service of process was effected on the Department

of Homeland Security at 245 Murray Lane, SW, Washington, DC 20528 on December 17, 2018

for Case Nos. 1:18-cv-02840, 1:18-cv-02842, and 1:18-cv-02846. True and correct copies of the




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USPS Tracking Results demonstrating service on the Department of Homeland Security are

attached in Exhibit A (Certified Mail Receipts still have not been received).

       4.       I served the summonses and copies of the complaint by Certified U.S. Mail, First-

Class return-receipt requested on the Attorney General of the United States for the following

cases filed by American Oversight: 1:18-cv-02840, 2842, 2844, 2845, and 2846. According to

USPS Tracking, service of process for all copies were effected on the Attorney General of the

United States at 950 Pennsylvania Avenue, NW, Washington, DC 20530 on December 17, 2018.

True and correct copies of the Certified Mail Receipt and the USPS Tracking Results

demonstrating service on the Attorney General are attached in Exhibit B.

       5.       Courier company Best Messenger (server Paul Sterman) effected service of

process on the Civil Process Clerk, U.S. Attorney’s Office at 555 4th Street, NW, Washington,

DC 20530 on December 12, 2018. True and correct copies of the Proof of Service completed by

Paul Sterman and a time-stamped copy of the letter accompanying the filings served are attached

in Exhibit C.

       6.       According to USPS Tracking, service of process was effected on the Customs and

Border Protection at 1300 Pennsylvania Avenue, NW, Washington, DC 20229 on December 17,

2018 for Case Nos. 1:18-cv-02840, 1;18-cv-02842, and 1:18-cv-02846. True and correct copies

of the USPS Tracking Results demonstrating service on the Customs and Border Protection are

attached in Exhibit D (Certified Mail Receipts still have not been returned).

       7.       According to USPS Tracking, service of process was effected on the Immigration

and Customs Enforcement at 500 12th Street SW, Washington, DC 20536 on December 17, 2018

for Case Nos. 1:18-cv-02840, 1;18-cv-02842, and 1:18-cv-02846. True and correct copies of the




                                                 3
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USPS Tracking Results demonstrating service on the Immigration and Customs Enforcement are

attached in Exhibit E (Certified Mail Receipts still have not been returned).

        8.       According to USPS Tracking, service of process was effected on the Citizenship

and Immigration Services at 20 Massachusetts Avenue, NW, Washington, DC 20529 on

December 17, 2018 for Case Nos. 1:18-cv-02840, 1;18-cv-02842, and 1:18-cv-02846. True and

correct copies of the USPS Tracking Results demonstrating service on the Citizenship and

Immigration Services are attached in Exhibit F (Certified Mail Receipts still have not been

returned).

        9.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.


    Dated: March 4, 2019                              /s/ Emily Derrick
                                                      Emily Derrick




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 4, 2019, a true and correct copy of the foregoing

was served on all parties in this action via CM/ECF.

                                                       Respectfully submitted,

                                                       /s/ Joseph F. Yenouskas
                                                       Joseph F. Yenouskas




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